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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 CURTIS E. BLACKWELL, II,

        Plaintiff,
                                                                    Case No. 1:18-cv-1261
 v.
                                                                    HON. JANET T. NEFF
 LOU ANNA K. SIMON, et al.,

        Defendants.
 ____________________________/


                                            ORDER

       Pending before the Court is Plaintiff’s Emergency Motion to Amend/Correct the Court’s

February 4, 2020 Order Referring Defendants’ Motions to Strike and for Sanctions to Magistrate

Judge Berens Pursuant to 28 U.S.C. § 636(b)(1)(A) under Rule 54(b) (ECF No. 215). Defendants

filed a response in opposition (ECF No. 218). For the following reasons, Plaintiff’s motion is

properly denied.

       Plaintiff asserts that three pretrial motions—two that were previously resolved (ECF Nos.

81 & 153) and one pending motion that is noticed for a hearing (ECF No. 180)—were improperly

referred to a magistrate judge under 28 U.S.C. § 636(b)(1)(A) (ECF No. 215 at PageID.2644).

Plaintiff asserts that the referrals should have instead been made under § 636(b)(1)(B) (id. at

PageID.2646), although his motion at bar requests “correction” under Federal Rule of Civil

Procedure 54(b) of only the Court’s most recent referral on February 4, 2020 (id. at PageID.2648).

In response, Defendants point out that Plaintiff’s motion lacks merit, has no practical effect, and

is “vexatious” (ECF No. 218 at PageID.2655-2657).
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       28 U.S.C. § 636 governs the jurisdiction and powers of magistrate judges. Subparagraph

(A) of § 636(b)(1) provides that a judge may, with certain exceptions, “designate a magistrate

judge to hear and determine any pretrial matter pending before the court.”                28 U.S.C.

§ 636(b)(1)(A). The excepted motions are “a motion for injunctive relief, for judgment on the

pleadings, for summary judgment, to dismiss or quash an indictment or information made by the

defendant, to suppress evidence in a criminal case, to dismiss or to permit maintenance of a class

action, to dismiss for failure to state a claim upon which relief can be granted, and to involuntarily

dismiss an action.” Id. Subparagraph (B) provides that a judge “may also designate a magistrate

judge to conduct hearings, including evidentiary hearings, and to submit to a judge of the court

proposed findings of fact and recommendations for the disposition, by a judge of the court, of any

motion excepted in subparagraph (A). . .” 28 U.S.C. § 636(b)(1)(B). See also W.D. Mich. LCivR

72.1 (describing the authority of magistrate judges).

       The three referred motions that Plaintiff singles out for this Court’s attention are:

           x   Defendants Davis and Miller’s October 7, 2019 Emergency Motion to
               Strike, and for Sanctions (ECF No. 81)

           x   Defendants Dantonio, Simon and Hollis’ December 13, 2019 Motion for
               Entry of Order Concerning Their Motion for Protective Order and to Strike
               Hollis’ Sealed Testimony, and for Costs ECF No. 153

           x   Defendants Dantonio, Hollis and Simon’s February 3, 2020 Motion to
               Strike Plaintiff Blackwell’s Motion for Protective Order, and for Sanctions
               (ECF No. 180)

       Neither motions to strike nor motions concerning protective orders are excepted under

§ 636(b)(1)(A) such that they may not be referred to a magistrate judge to hear and determine.

And, as Defendants point out, the fact that a pretrial motion includes a dispositive sanction as part

of its requested relief would not render such a referral improper; rather, courts in the Sixth Circuit

generally hold that it is the sanction selected by the magistrate judge, not the sanction requested


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by the moving party, that dictates a magistrate judge’s authority over a motion (ECF No. 218 at

PageID.2655, citing Builders Insulation of Tennessee, LLC v. S. Energy Sols., 2020 WL 265297,

at *5 (W.D. Tenn. Jan. 17, 2020) (collecting numerous cases for the proposition)). Therefore:

       IT IS HEREBY ORDERED that Plaintiff’s Emergency Motion to Amend/Correct the

Court’s February 4, 2020 Order Referring Defendants’ Motions to Strike and for Sanctions to

Magistrate Judge Berens Pursuant to 28 U.S.C. § 636(b)(1)(A) under Rule 54(b) (ECF No. 215) is

DENIED.


Dated: February 25, 2020                                     /s/ Janet T. Neff
                                                           JANET T. NEFF
                                                           United States District Judge




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